 8:07-cr-00188-LES-TDT   Doc # 30   Filed: 08/08/07   Page 1 of 2 - Page ID # 50



               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:07CR188
                              )
          v.                  )
                              )
JOSE A. HERNANDEZ,            )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to continue trial (Filing No. 29).         The Court notes defendant has

filed a written waiver of speedy trial.           Accordingly,

           IT IS ORDERED that trial of this matter is scheduled

for:

                Monday, September 17, 2007, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska, or as soon thereafter as may

be called by the Court.      The additional time will give counsel

adequate time to complete plea negotiations and will accommodate

counsel’s and the Court’s schedule.         The ends of justice will be

served by continuing this case and outweigh the interests of the

public and the defendant in a speedy trial.            The additional time

between August 6, 2007, and September 17, 2007, shall be deemed
 8:07-cr-00188-LES-TDT   Doc # 30   Filed: 08/08/07   Page 2 of 2 - Page ID # 51



excludable time in any computation of time under the requirement

of the Speedy Trial Act.      18 U.S.C. § 3161(h)(8)(A) & (B).

           DATED this 8th day of August, 2007.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
